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   MINUTE ENTRY
   ROBY, M.J.
   7/8/2021

                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

     PRINCESS DENNAR                                               CIVIL ACTION
     VERSUS                                                        NO. 20-2679
     TULANE EDUCATIONAL FUND                                       SECTION: “T” (4)

   LAW CLERK:                   Destinee N. Andrews
   COURT REPORTER:              Karen Ibos

   Appearances:          Michael Richard Allweiss, Jessica Michelle Vasquez, Melanie Lockett
                         for Plaintiff.
                         Julie Durel Livaudais and Rosalie Margaret Haug for Defendant.

                                 MINUTE ENTRY AND ORDER

           The parties discussed the status of discovery, and when exactly Defendant’s production
   would be complete, which has been flowing in continuously on rolling productions. The Plaintiff
   sought the Defendant certify the production is complete, but the Court told Plaintiff that
   certification is neither necessary nor required in federal courts. The parties discussed the next
   production, which should be the Defendant’s last production based on the agreed upon search
   terms so far. The Defendant explained all potentially relevant documents have been pulled from
   the system, but 3,000 documents have been flagged for further review of responsiveness and
   privilege. The Court ordered the documents to be produced no later than Friday, July 16, 2021.
   The Court further held that, should any documents be withheld, the Defendant also produce an
   accompanying privilege log at the same time. The Court discussed the adoption of ESI Protocol to
   guide the rest of discovery given Plaintiff’s want for additional search terms/custodians. No
   resolution was made as to the same.

                                            New Orleans, Louisiana, this 9th day of July 2021.




                                                       KAREN WELLS ROBY
                                            CHIEF UNITED STATES MAGISTRATE JUDGE


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